 1    James Martinez (SBN 235800)
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 4    Attorneys for Plaintiff
      CARLOS MADRIGAL
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 8                         UNITED STATES BANKRUPTCY COURT
 9                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
10                                     OAKLAND DIVISION
11
12    IN RE MARIO ROBERTO JUAREZ,                     )   Case Number 13-40355 RLE
      AKA MARIO JUAREZ, DBA FIRESIDE                  )
13    CALIFORNIA GROUP, INC., DBA                     )   Chapter 13
      MARIO JUAREZ SELLING TEAM                       )
14                                                    )
                                Debtor,               )
15                                                    )
                                                      )
16                                                    )
      CARLOS MADRIGAL,                                )   ADVERSARY PROCEEDING
                                                          NUMBER 13-04087
17                                                    )
                                Plaintiff,            )
18                                                    )   STIPULATION OF DISMISSAL
      vs.                                             )   WITH PREJUDICE
19                                                    )
                                                      )
20    MARIO ROBERTO JUAREZ, AKA                       )
      MARIO JUAREZ,
                                                      )
21                         Defendant.                 )
      ____________________________________            )
22                                                    )
23           Pursuant to Federal Rule of Civil Procedure 41(a)(1)(ii) made applicable to
24
      adversary proceedings by Federal Rule of Bankruptcy Procedure 7041, Plaintiff and
25
      Defendant, being all parties that entered an appearance in the above-referenced adversary
26
      proceeding, hereby jointly and mutually stipulate to the dismissal with prejudice of the
27
28    adversary proceeding. The parties have agreed to the terms as stated on the record and

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 1
      memorialized in their Settlement Agreement.
 2
      Dated this 5th day of August, 2014
 3
                                                           /s/
 4
 5                                         JAMES MARTINEZ
                                           Attorneys for Plaintiff
 6                                         CARLOS MADRIGAL

 7
 8                                                           /s/
 9                                         LEWIS PHON
                                           Attorneys for Defendant
10                                         MARIO JUAREZ
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